Case 2:18-cv-01849-RDP Document 1-1 Filed 11/08/18 Page 1 of 26            FILED
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                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




            EXHIBIT “A”
        (State Court Pleadings)
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                                      AlaFile E-Notice




                                                                        01-CV-2018-904014.00


To: CHARLES CLYDE TATUM JR
    ctatum7@aol.com




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

       ESTATE OF ESSIE MCELRATH V. BIRMINGHAM NURSING AND REHABILITATION, LLC
                                01-CV-2018-904014.00

                     The following complaint was FILED on 10/4/2018 3:35:14 PM




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                                                           716 N. RICHARD ARRINGTON BLVD.
                                                                      BIRMINGHAM, AL, 35203

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                                                                anne-marie.adams@alacourt.gov
            Case 2:18-cv-01849-RDP Document 1-1 Filed 11/08/18 Page 4 of 26


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                                                                        01-CV-2018-904014.00


To: BIRMINGHAM NURSING AND REHABILITATION, LLC
    C/O RICHARD GILL, REG AGT
    444 S. PERRY ST.
    MONTGOMERY, AL, 36104




                   NOTICE OF ELECTRONIC FILING
                   IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

       ESTATE OF ESSIE MCELRATH V. BIRMINGHAM NURSING AND REHABILITATION, LLC
                                01-CV-2018-904014.00

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                                                                              CIRCUIT COURT OF
                                                                         JEFFERSON COUNTY, ALABAMA
                                                                          ANNE-MARIE ADAMS, CLERK
           IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

 The Estate of Essie McElrath, by and through                      ]
 his personal representative Erskine McElrath,                     ]
                                                                   ]
         Plaintiff,                                                }
                                                                   ]   CASE NUMBER:
 v.                                                                ]   01-CV-2018-
 Birmingham Nursing Rehabilitation Center, LLC,                    ]
 Defendants A, B, and C that person, firm, corporation or          ]
 other legal entity commonly known as or d/b/a Birmingham          ]   PLAINTIFF
 Nursing Rehabilitation Center, LLC; Defendants D, E, and          ]   DEMANDS TRIAL
 F, that person, firm, corporation or other legal entity who       ]   BY STRUCK JURY
 owned or operated Birmingham Nursing Rehabilitation               ]
 Center, LLC on the date made the occurrence made the basis        ]
 of this suit; Defendants G, H, and I, that firm, corporation or   ]
 other legal entity who was vicariously responsible for the        ]
 negligent acts or omissions referred to in the Complaint;         ]
 Defendants J, K, and L, that firm, corporation or other legal     ]
 entity whose negligence, combined and concurred, with the         ]
 negligence of the named and Fictitious Defendants;                ]
 Defendants M. N, and O, that person, firm, corporation or         ]
 other legal entity for whom benefit of the nursing home made      ]
 the basis of this suit was being operated; Defendant P, Q, and    ]
 R, that person who was the Director of nursing at the nursing     ]
 home made the basis of this suit; Defendants S, T, and U, that    ]
 person who was the Administrator of the nursing home made         ]
 the basis of this suit; V, W, X, and Y, all individuals or        ]
 entities who rendered care to Essie McElrath in a negligent,      ]
 wanton and/or tortuous manner; all of those true names are        ]
 otherwise unknown but will be added by amendment when             ]
 ascertained,                                                      ]
                                                                   ]
        Defendants,                                                ]
                                                                   ]

                                        COMPLAINT

       COME NOW, Plaintiff the Estate of Essie McElrath, and files this Complaint against the

named and fictitious party Defendants stating the following:

                                           PARTIES



1
                                            DOCUMENT 2
         Case 2:18-cv-01849-RDP Document 1-1 Filed 11/08/18 Page 7 of 26



       1.      Essie McElrath died intestate on November 16, 2017. Letters of Administration

were issued to his personal representative, Erskine McElrath, on February 12, 2018 by the Probate

Court of Walker County, Alabama (PC 2018-034). This action is brought by and through the

personal representative on behalf of the Estate of Essie McElrath, Deceased.

       2.      Defendant Birmingham Nursing Rehabilitation Center, LLC is a skilled nursing

home and rehabilitation facility operating within the jurisdiction of Jefferson County, Alabama.

       3.      Whenever the term “Birmingham Nursing Home Defendants” is utilized within this

Complaint, such term collectively refers to and includes Birmingham Nursing Rehabilitation

Center, LLC, and all fictitious Defendants A through Y.

       4.      Whenever it is alleged that the Defendants did any act or thing or failed to do any

act or thing, it is meant that the officers, agent or employees of the stated corporations or entities

respectively performed, participated in, or failed to perform such acts or things while in the course

and scope of their employment or agency relationship with said Defendants.

       5.      Whenever it is alleged that the “Defendants” in the collective context did any act

or thing or failed to do any act, it is also meant that the officers, agents or employees of Defendants

performed, participated or failed to perform such acts while in the course and scope of their

employment or agency relationship with said Defendants.

       6.      The identities of the fictitious parties A through Y are unknown to the Plaintiffs at

this time, or if they are known by the Plaintiffs, they are not known as a party Defendant; however,

when the Plaintiffs ascertain the identities of these parties they will be substituted at that time.

                                                   FACTS




2
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        Case 2:18-cv-01849-RDP Document 1-1 Filed 11/08/18 Page 8 of 26



       7.      Mr. McElrath became a resident of Birmingham Nursing and Rehabilitation Center

facility, located at 1000 Dugan Drive, Birmingham, Alabama 35214 on or about the 22nd day of

June 22, 2017, and he remained a resident until November 1, 2017.

       8.      At all times material hereto, the Birmingham Nursing Home Defendants held

themselves out as a nursing and rehabilitation center capable of providing a full complement of

nursing services, long term care, and other attendant facilities equipped to care for the needs of

patients such as Mr. McElrath.

       9.      In an effort to assure that Mr. McElrath and other residents were placed at

Birmingham Nursing Rehabilitation Center, LLC, the Birmingham Nursing Home Defendant held

themselves out to the Alabama Nursing Home Association and the public at large as being:

               a)     skilled in the performance of nursing, rehabilitative, and other medical

                      support services;

               b)     properly staffed, supervised, and equipped to meet the total needs of its

                      nursing home residents; and

               c)     able to specifically meet the total nursing home, medical, and physical

                      therapy needs of Mr. McElrath and other residents like him. Additionally,

                      in Mr. McElrath’s case, said Defendants made specific representations and

                      promises to him and his family regarding the quality and quantity of

                      professional nursing and medical care that would be provided. Defendants

                      were aware that Mr. McElrath was severely debilitated, and in a bedfast

                      condition; that Mr. McElrath was unable to care for his activities of daily

                      living or hygiene; that Mr. McElrath was diabetic and suffered from chronic

                      kidney disease; that Mr. McElrath had decubiti ulcers and was at risk for

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                                           DOCUMENT 2
        Case 2:18-cv-01849-RDP Document 1-1 Filed 11/08/18 Page 9 of 26



                       the development of decubiti ulcers, and complications from decubiti ulcers

                       when they made the representations and promises to him and his family.

       10.     The Defendants were well aware of Mr. McElrath’s medical condition and the care

that he required when they represented to him and his family that they could adequately care for

his needs. The Defendants were aware that Mr. McElrath was at risk for the development of

decubiti ulcers, as well as complications therefrom, and failed to take reasonable steps necessary

to minimize or eliminate the risk of Mr. McElrath developing decubiti ulcers.

       11.     On the basis of these claims, Mr. McElrath and his family placed their trust in the

Defendants.

       12.     The Defendants and all fictitious party Defendants A through Y wholly failed to

discharge their obligations of care to Mr. McElrath. As a consequence thereof, Mr. McElrath

suffered catastrophic injuries, extreme pain, suffering, and mental anguish, and death.

       13.     More specifically, Defendant Birmingham Nursing Rehabilitation Center, LLC,

through its employees, failed to provide Mr. McElrath with adequate care and/or medical

equipment, failed to relieve pressure on vulnerable areas of Mr. McElrath’s body with medical

care and/or proper medical equipment, failed to reduce shear and friction on Mr. McElrath’s body

during care, failed to inspect Mr. McElrath on a regular basis so as to detect and treat decubiti

ulcers, and failed to provide Plaintiff proper skin hygiene, or otherwise failed to properly inspect,

assess, diagnose, and treat decubiti ulcers located on Mr. McElrath’s lower extremities, lower

back, and buttocks. As a result of these acts or omissions, Mr. McElrath developed multiple life

threatening stage IV decubiti ulcers that were infected, foul smelling, and gangrenous, and showed

signs of significant tissue loss with visibly exposed muscle, tendons, and bones.



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                                             DOCUMENT 2
        Case 2:18-cv-01849-RDP Document 1-1 Filed 11/08/18 Page 10 of 26



        14.     The Birmingham Nursing Home Defendants further failed to deliver appropriate

care to Mr. McElrath by causing him to suffer from dehydration, malnourishment, and severe

anemia, causing his health to rapidly decline. By November 1, 2017, Mr. McElrath health had

deteriorated such that he was unresponsive and septic. He was discharged and taken by ambulance

to St. Vincent’s Hospital East, where the physicians were otherwise unable to treat his mortal

wounds or impede the onset of his death. On November 16, 2017, Mr. McElrath expired stemming

from life threatening complications of his infected decubiti ulcers.

        15.     Mr. McElrath contends that the malpractice of the Birmingham Nursing Home

Defendants and its employees resulted, in part, from a systemic failure to adequately document the

treatment of the Birmingham Nursing Home Defendants’ patients as well as a failure to maintain

medical records which contained sufficient information to justify the diagnosis and treatment of

those patients including Mr. McElrath. Mr. McElrath contends that the Birmingham Nursing

Home Defendants and its employees involved in his care failed to document the results, including,

at a minimum, documented evidence of assessments of the needs of Mr. McElrath, for the

establishment of appropriate plans of care and treatment, and for the care and services provided

during his treatment as a whole. Mr. McElrath also contends that the acts and omissions described

above occurred as a result of the Birmingham Nursing Home Defendants understaffing and/or

failure to properly train and/or supervise its staff.

        16.     The scope of severity of the recurrent negligence inflicted upon Mr. McElrath while

under the care of the Defendants accelerated the deterioration of his health and physical condition

beyond that caused by the normal aging process and resulted in his death.




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                                              DOCUMENT 2
        Case 2:18-cv-01849-RDP Document 1-1 Filed 11/08/18 Page 11 of 26



        17.     All of Mr. McElrath’s injuries as well as the conduct specified below caused Mr.

McElrath to lose his personal dignity; caused shame and humiliation, extreme and unnecessary

pain, degradation, anguish, emotional trauma and death.

        18.     Mr. McElrath alleges that on all of the occasions complained of herein, he was

under the care, supervision, and treatment of the agents and/or employees of the Defendants and

that the injuries complained of herein were proximately caused by the acts and omissions of said

Defendants and/or the fictitious Defendants A through Y named herein.

        19.     Defendants had vicarious liability for the acts and omissions of all persons or

entities under the Defendants’ control, either direct or indirect, including their employees, agents,

consultants, and independent contractors, whether in-house or outside entities, individuals,

agencies or pools causing or contributing to Plaintiff’s injuries.



                       COUNT I: NEGLIGENCE AND WANTONESS CLAIM

        20.     Plaintiffs allege and incorporate the allegations in paragraphs one (1) through

nineteen (19) as if fully set forth herein.

        21.     The Birmingham Nursing Home Defendants owed a duty to residents, including

Mr. McElrath, to hire, train, and supervise employees so that such employees delivered care and

services to residents in a safe and beneficial manner.

        22.     The employees of the Birmingham Nursing Home Defendants owed a duty to

residents, including Mr. McElrath, to render care and services as a reasonably prudent and

similarly situated nursing home and rehabilitation facility employee would render; including, but

not limited to, rendering care and services in safe and beneficial manner.



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                                           DOCUMENT 2
       Case 2:18-cv-01849-RDP Document 1-1 Filed 11/08/18 Page 12 of 26



       23.     The Defendants and their employees and consultants breached their duties as

follows: The Defendants were aware that Mr. McElrath was at risk for developing decubiti ulcers

and complications therefrom and failed to take reasonable steps necessary to minimize or eliminate

the risk of Mr. McElrath developing infected decubiti ulcers. Defendant Birmingham Nursing and

Rehabilitation, LLC, through its employees, failed to provide Mr. McElrath with proper care,

hygiene, and/or medical equipment to prevent the development of mortally infected decubiti

ulcers. Defendant Birmingham Nursing and Rehabilitation, LLC, through its employees, failed to

provide Mr. McElrath with proper nourishment and hydration which contributed to and hastened

his death by compromising his ability to ward off gangrenous infections. As a result Mr. McElrath

developed foul smelling, gangrenous, decubiti ulcers with significant tissue loss and having visibly

exposed muscle, tendons, and bone. Defendants failed to take reasonable steps necessary for the

treatment of his mortally infected decubiti ulcers by qualified medical professionals causing his

health to rapidly decline and discharged him from their care in a septic and unresponsive state that

he could not overcome.

       24.     Mr. McElrath contends that the malpractice of the Birmingham Nursing Home

Defendants and its employees are, in part, from a systemic failure over the course of months and

even years to adequately document the treatment of the Defendants’ patients as well as a failure to

maintain medical records which contained sufficient information to justify the diagnosis and

treatment of those patients including Mr. McElrath himself. Mr. McElrath contends that the

Birmingham Nursing Home Defendants and its employees involved in his care failed to document

the results, including, at a minimum, documented evidence of assessments of his needs, for the

establishment of appropriate plans of care and treatment, and for the care and services provided

during his treatment from June 22, 2017 to November 1, 2017. Mr. McElrath also contends that

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                                           DOCUMENT 2
        Case 2:18-cv-01849-RDP Document 1-1 Filed 11/08/18 Page 13 of 26



the acts and omissions described above occurred as a result of the Birmingham Nursing Home

Defendants’ understaffing and/or failure to properly train and/or supervise its staff.

       25.     In addition to those acts and omissions described above, Mr. McElrath avers that

the negligence, gross negligence and/or wantonness of the Birmingham Nursing Home

Defendants, their employees and consultants, and/or the fictitious Defendants named herein as A

through Y includes, but is not limited to, one or more of the following acts and omissions which

occurred from June 22, 2017 to November 1, 2017:

               a)      failing to provide him with adequate supervision and assistance to prevent

                       formation of mortally infected decubiti ulcers;

               b)      failing to notify his medical doctor and/or family in a timely manner of

                       mistakes or errors made in connection with his treatment;

               c)      failing to provide him a safe functional environment;

               d)      failing to provide comprehensive and accurate assessments for his

                       safety;

               e)      failure to provide adequate safety measures;

               f)      failure to conduct comprehensive and accurate assessments of his

                       medical conditions and needs;

               g)      failure to provide appropriate action based on assessments of his medical

                       conditions;

               h)      failure to maintain acceptable parameters of nutritional status;

               i)      failure to monitor his status and take appropriate interventions to provide

                       care;

               j)      failure to follow his medical doctor's orders;

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         k)    failure to ensure the necessary care and services to allow and maintain his

               highest physical, mental, psychological and social well-being;

         l)    failure to adequately document his charts;

         m)    failing to provide sufficient numbers of qualified personnel including

               nurses, nurse assistants, medication aides, and orderlies, ("nursing

               personnel") to meet his total needs in conjunction with the needs of other

               residents of the said facility;

         n)    failing to increase the number of nursing personnel at said facility to

               insure that he:

               1)      received the correct prescribed treatment, medication, and diet;

               2)      was appropriately provided nutrition in a manner which would not

                       cause his health to deteriorate; and

               3)      was protected from accidental injuries by the correct use of ordered

                       and reasonable safety measures;

         o)    failing to provide nursing personnel sufficient in number to provide       him

               and the other residents at Birmingham Nursing and Rehabilitation, LLC

               with the proper care;

         p)    failing to provide adequate supervision to the nursing staff so as to assure

               that he received adequate and proper nutrition in the appropriate manner

               and sufficient nursing observation and examination of the responses,

               symptoms, and progress in his physical condition;

         q)    failing to adequately assess, evaluate and supervise nurses, nurses’ aides

               or assistants, medication assistants, and dietary personnel so as to assure

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                that he received good, proper nursing care, in accordance      with           the

                Birmingham Nursing Home Defendants' policy and procedures manual, the

                rules of the Alabama State Board of Health for nursing facilities, the

                applicable standard of care and the regulations of the U.S. Department of

                Health and Human Services;

          r)    failing to adequately supervise the Administrator of said facility;

          s)    failing to adequately supervise the Director of Nurses at said

                facility;

          t)    failing to adequately supervise other nursing staff at said facility;

          u)    failing to provide a nursing staff that was properly manned, qualified,

                trained and motivated;

          v)    failing to adequately screen, evaluate and check references, test for

                competence, and use ordinary care in selecting nursing personnel to work

                at said facility;

          w)    failing to terminate employees at said facility assigned to him that were

                known to be careless, incompetent, unwilling to comply with the policy

                and procedures of Defendants and the rules and regulations promulgated

                by the Alabama State Board of Health;

          x)    failing to assign nursing personnel at said facility duties consistent with

                their education and experience based on:

                1)      his medication history and condition, nursing and rehabilitative

                        needs;



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                2)     The characteristics of the resident population residing in the area of

                       the facility where he was a resident; and

                3)     The nursing skills needed to provide care to such resident

                       population;

          y)    failing to establish, publish and/or adhere to policies for nursing personnel

                concerning the care and treatment of residents with nursing, medical,

                psychological and social needs similar to his;

          z)    failing to provide and assure an adequate nursing care plan based on his

                needs at the time of his admission to said facility;

          aa)   failing to provide and assure adequate nursing care plan revisions and

                modifications as his needs changed;

          bb)   failing to implement and assure that an adequate nursing-care plan for

                him was followed by nursing personnel;

          cc)   failing to adopt adequate guidelines, policies and procedures for:

                1)     investigating the relevant facts, underlying deficiencies or

                       licensure violations or penalties found to exist at said facility by

                       the Alabama State Board of Health or any state or federal survey

                       agency; and

                2)     connecting the cause of any such deficiencies or licensure

                       violations of penalties found to exist at said facility;

          dd)   failing to adopt adequate guidelines, policies and procedures for

                determining whether the Birmingham Nursing Home Defendants had a



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                sufficient number of nursing personnel which includes nurses, nurses

                assistants, orderlies and other staff to:

                1)      provide 24-hour nursing services;

                2)      meet the needs of residents who are admitted to or remain in the

                        facility; and

                3)      meet the total nursing needs to residents;

          ee)   failing to adopt adequate guidelines, policies and procedures for

                documenting and maintaining files, investigating and responding to any

                complaint regarding the quantity of resident care, the quality of resident

                care or misconduct by employees at said facility no matter whether such

                complaint derived from a resident of said facility, an employee of the

                facility or any interested person.

          ff)   failing to take reasonable steps to prevent, eliminate, and correct

                deficiencies and problems in resident care at said facility;

          gg)   failure of the members of the governing body of said facility to discharge

                their legal and lawful obligation by:

                1)      assuring that the rules and regulations designed to protect the

                        health and safety of the residents, such as himself, as promulgated

                        by the Alabama State Board of Health were consistently complied

                        with on an ongoing basis;

                2)      assuring that the resident care policies for said facility were

                        consistently complied with on an ongoing basis;



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                3)      assuring that the policy and procedure manuals for said facility

                        were updated and modified to address problems which

                        consistently emerged at the facility; and

                4)      responsibly assuring that appropriate corrective measures were

                        implemented to cure problems concerning inadequate resident

                        care;

          hh)   failing to properly assess him for the risk of developing decubiti ulcers or

                risk of injury;

          ii)   failing to properly monitor him from June 22, 2017 to November 1, 2017;

          jj)   failing to properly chart his medical care and assess his condition from

                June 22, 2017 to November 1, 2017;

          kk)   failing to follow doctor’s orders in connection with his treatment from

                June 22, 2017 to November 1, 2017;

          ll)   failing to assure and provide his with adequate nursing care, treatments and

                medication from June 22, 2017 to November 1, 2017;

          mm)   failing to adequately and timely assess, monitor and treat the development

                and/or progression of infected decubiti ulcers, sepsis, and anemia;

          nn)   failing to maintain medical records which contained sufficient information

                to justify the diagnosis and treatment and to document the results,

                including, at a minimum, documented evidence of assessments of the

                his needs, for the establishment of appropriate plans of care and

                treatment, and for the care and services provided.



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               oo)     failing to appropriately monitor him and recognize significant signs and

                       symptoms of change in his health condition.

               pp)     failing to properly notify his family of significant changes in his health

                       status.

               qq)     failing to notify his attending physician of significant changes in his

                       physical condition;

               rr)     failing to insure proper documentation and charting of his and other

                       residents under the care of the Birmingham Nursing Home Defendants.

        26.    The aforementioned conduct was continuing, successive, consecutive, and repeated

throughout the short residency of Plaintiff, and especially from June 22, 2017 to November 1,

2017.

        27.     A reasonably prudent nursing home and its employees, operating under the same

or similar conditions, would not have failed to provide the important care listed above. Each of the

foregoing acts of negligence on the part of the Defendants was a proximate cause Plaintiff’s injury.

Plaintiff’s injuries were foreseeable to the Defendants.

        28.    Plaintiff further avers the Birmingham Nursing Home Defendants acted wantonly

by deliberating ignoring clear and obvious signs of plaintiff’s rapidly declining health and refused

to adequately treat, nourish, and sustain plaintiff.

        29.    Plaintiff was a private paying resident and his admission his bills were fully paid.

Over the course of four months plaintiff payments to defendants exceeded $25,000. Rather than

lose this source of revenue, the Birmingham Nursing Home Defendants deliberately turned a blind

eye to plaintiff’s acute medical needs and declining health and refused to discharge him to an acute

care hospital capable of providing life-saving care and treatment.

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        30.     Plaintiff further avers defendants were motivated by profit and greed and

deliberately ignored the overwhelming stench and foul-smelling discharge emanating from

plaintiff for weeks.

        31.     Plaintiff further avers defendants deliberately falsified plaintiff’s medical records

to reflect he was being adequately nourished, hydrated, medicated, and receiving proper care, when

in truth he was neglected, undernourished, and allowed his wounds to rot and decay which

hastened his death.

        WHEREFORE, as a direct and proximate result of such negligent, grossly negligent,

wanton, reckless, malicious and/or intentional conduct, Plaintiff asserts a claim for judgment for

compensatory and punitive damages against the Defendants, jointly and severally, and all fictitious

party Defendants, in an amount to be determined by a jury, plus costs and other relief to which

Plaintiff is entitled by law.

                          COUNT II: NEGLIGENCE PER SE CLAIM

        32.   Plaintiffs adopt by reference and incorporate the allegations in paragraphs one (1)

through nineteen (19) as if fully set forth herein.

        33.     The Defendants are a licensed nursing home and rehabilitation facility; as such it is

understood in law and certified for participation in the Medicaid program as an intermediate and

skilled facility. By reason of the election to participate in such programs, the Defendants are, and

at all times material to this lawsuit were, required to comply with:

                1)      Rules and regulations promulgated by the Alabama State Board of Health,

                        Rules 420-5-10-.01 through 420-5-10-.18, chapter 420-5-10, Nursing

                        Facilities, Alabama Administrative Code, and the Federal Minimum

                        Standards of Participation imposed by the United States Department of

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                      Health and Human Services. 42 Code of Federal Regulations § 405.301 et

                      seq. Moreover, Defendants were at all times material to this lawsuit

                      required to comply with the foregoing rules and regulations in caring for

                      Plaintiff.

       34.     The Defendants have violated the aforementioned laws by their acts and omissions,

which include, but are not limited to, one or more of the following:

               1)     Failing to have sufficient nursing staff to provide nursing and related

                      services to attain or maintain the highest practicable physical, mental, and

                      psychological and social well-being of Plaintiff as determined by his

                      resident assessment and individual plan of care;

               2)     Failing to provide services by sufficient numbers of licensed nursing and

                      other nurse personnel on a 24-hour basis to provide nursing care to all

                      residents including Plaintiff, in accordance with his resident care plan;

               3)      Failing to insure that Plaintiff’s and other residents’ environment

                      remained as free of accident hazards as possible;

               4)      Failing to insure that Plaintiff received adequate supervision and

                      assistance devices to prevent accidents;

               5)      Failing to insure that Plaintiff received the necessary care and services to

                      attain or maintain the highest practicable physical, mental and

                      psychological and social well-being in accordance with the comprehensive

                      assessment and plan of care;

               6)     Failing to insure that Plaintiff’s abilities and activities of daily living did

                      not diminish unless such diminution was unavoidable; and

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               7)       Failing to insure that Plaintiff was given the appropriate treatment and

                       services to maintain or improve his abilities and activities of living.

       35.      Mr. McElrath would further show that he fell within the class of persons that the

above-cited rules, regulations and laws were intended to protect, thus entitling him to adopt such

laws as the standard of care for measuring Defendants' conduct. Thus, Plaintiff asserts a claim of

negligence per se asserting that as a matter of law the conduct of the Defendants toward him

amounted to negligence.

       36.      One or more of the above-cited violations of law was a proximate cause of his

catastrophic injuries as previously set forth herein.

       WHEREFORE, Plaintiff seeks damages against the Defendants and all fictitious

Defendants A through Y, jointly or severally, in an amount to be determined by a jury plus costs

and any other relief to which Plaintiff is entitled by law.


                                               Respectfully submitted,



                                               //s// Charles Clyde Tatum, Jr.__________________
                                               Charles Clyde Tatum, Jr., Esquire
                                               //s// Seth L. Diamond________________________
                                               Seth L. diamond, Esquire
                                               Charles C. Tatum, Jr. P.C.
                                               Post Office Box 349
                                               Jasper, Alabama 35502
                                               (205) 387-0708
                                               Ctatum7@aol.com
                                               sethdiamond@sethdiamondlaw.com



                    PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY



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Birmingham Nursing and Rehabilitation, LLC
c/o RICHARD H GILL, Registered Agent
444 S PERRY ST
MONTGOMERY, AL 36104




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                                IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA
                    ESTATE OF ESSIE MCELRATH V, BIRMINGHAM NURSING AND REHABILITATION, LLC


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            clerk.blrminQhartii@alacourt.gov




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    444 S. PERRY ST.
    MONTGOMERY, AL 36104




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